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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION


 DONALD FALLS, et al.,

                     Plaintiffs,            Case No. 4:22-cv-166-MW/MJF

              v.

 RON DESANTIS, in his official
 capacity as Governor of Florida, et al.,

                     Defendants.



                     DEFENDANTS’ NOTICE OF FILING

      On June 29, the Court ordered Defendant Florida Board of Governors to file

a notice related to the Board’s proposed regulation 10.005, implementing the

Individual Freedom Act, 2022 Fla. Laws 72. See Doc. 65. Pursuant to the Court’s

order, the Board filed a supplemental brief explaining that the proposed regulation

had been approved at the Board’s regularly scheduled meeting on June 30 and that

the regulation was therefore subject to a 30-day public notice-and-comment period.

See Doc. 66. Defendants file this notice to notify the Court that the Board approved

the final regulation at its regularly scheduled meeting on August 26. The final

regulation is attached as Ex. A.
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Date: August 29, 2022                     Respectfully submitted,

/s/ Timothy L. Newhall                    /s/ Charles J. Cooper
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